	NO. 07-12-0462-CR

	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL C

	NOVEMBER 27, 2012
	______________________________

	PEDRO PEREZ MORALES,

		Appellant

	v.

	THE STATE OF TEXAS, 

		Appellee
                        _______________________________
                                       
	FROM THE 340[TH] DISTRICT COURT OF TOM GREEN COUNTY;

 NO. C-10-0321-SB; HONORABLE JAY K. WEATHERBY, JUDGE
	_______________________________
	
	On Motion to Dismiss
	_______________________________

Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.
Pending before this court is a motion to dismiss the appeal signed by both appellant Pedro Perez Morales and his attorney.  Without passing on the merits of the case, we grant the motion to dismiss pursuant to Texas Rule of Appellate Procedure 42.2(a) and dismiss the appeal.  Having dismissed the appeal at appellants request, no motion for rehearing will be entertained, and our mandate will issue forthwith.

Do not publish.					Per Curiam		          
